Case: 1:17-md-02804-DAP Doc #: 1894-11 Filed: 07/19/19 1 of 14. PageID #: 70642




                        Exhibit 8
Case: 1:17-md-02804-DAP Doc #: 1894-11 Filed: 07/19/19 2 of 14. PageID #: 70643
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                   IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF OHIO
                             EASTERN DIVISION



   IN RE NATIONAL                          : MDL No. 2804
   PRESCRIPTION OPIATE                     : CASE NO. 17-MD-2804
   LITIGATION                              : (DAP)
                                           :



               EXPERT REPORT OF CRAIG J. MCCANN, PH.D., CFA
                              March 25, 2019
Case: 1:17-md-02804-DAP Doc #: 1894-11 Filed: 07/19/19 3 of 14. PageID #: 70644
                                                         Confidential - Subject to Protective Order




        d. “NDC Dictionary Instructions,” Drug Enforcement
            Administration, October 2010 (current version available at
            www.deadiversion.usdoj.gov/arcos/ndc/readme.txt);

        e. “NDC/NHRIC Labeler Codes,” U.S. Food & Drug Administration,
            January 2018 (current version available at
            www.fda.gov/ForIndustry/DataStandards/StructuredProductLabeli
            ng/ucm191017.htm);

        f. “Opioid Oral Morphine Milligram Equivalent (MME) Conversion
            Factors,” Centers for Disease Control and Prevention, August 2017
            (current version available at
            www.cdc.gov/drugoverdose/resources/data.html);

        g. “Full Replacement Monthly NPI File,” Centers for Medicare and
            Medicaid Services, November 2018 (current version available at
            download.cms.gov/nppes/NPI Files.html);

        h. ARCOS Registrant Handbook, Drug Enforcement Administration,
            August 1997 (current version available at
            www.deadiversion.usdoj.gov/arcos/handbook/full.pdf);

        i. Masters Pharmaceutical, Inc. v. Drug Enforcement
            Administration, 861 F.3d 206 (D.C. Cir. 2017);

        j. U.S. Dep't of Justice, DEA, Chemical Handler's Manual: A Guide
            to Chemical Control Regulations (2004), (WAGMDL00395965);

        k. U.S. Dep’t of Justice, DEA, Diversion Investigators Manual
            (1990)(CAH_MDL_PRIORPROD_DEA07_01176247);


                                            -3-
Case: 1:17-md-02804-DAP Doc #: 1894-11 Filed: 07/19/19 4 of 14. PageID #: 70645
                                                          Confidential - Subject to Protective Order




         l. U.S. Dep’t of Justice, DEA, Diversion Investigators Manual (1996)
               (CAH_MDL2804_02203353);

         m. Other documents cited in the text and footnotes below.


  III.   Assignment

         10.     I have been asked by Plaintiffs’ Counsel to document how I
  processed, validated and augmented opioid transaction data produced by the
  Drug Enforcement Administration (“DEA”) and from the Defendants.

         11.     I have been asked to summarize shipments in the ARCOS Data,
  especially those shipments into Cuyahoga County and Summit County.

         12.     I have also been asked to report the results of applying certain
  algorithms to the ARCOS Data.


  IV.    Summary of Opinions

         13.     Based upon my comparison of the ARCOS Data produced by the
  DEA and the public ARCOS Retail Drug Summary Reports, I conclude that,
  after correcting a relatively small number of records, the ARCOS Data
  produced by the DEA is reliable.

         14.     I conclude that the ARCOS Data is reliable because it closely
  matches the DEA’s Retail Drug Summary Reports for January 2006 through
  December 2014. Retail Drug Summary Reports summarize the weight of
  drugs in reported transactions with consumers in each of the 50 states and the
  District of Columbia. Where there were discrepancies between the ARCOS
  Data produced by the DEA and the Retail Drug Summary Reports, I was able


                                           -4-
Case: 1:17-md-02804-DAP Doc #: 1894-11 Filed: 07/19/19 5 of 14. PageID #: 70646
                                                         Confidential - Subject to Protective Order




  to identify and correct the error in either the ARCOS Data or the Retail Drug
  Summary Reports.

        15.      The ARCOS Data produced by the DEA also closely matches
  transaction data produced in discovery by Cardinal Health, McKesson Corp,
  Walgreens, CVS, Anda, H.D. Smith, Walmart, HBC, Discount Drug Mart,
  and Prescription Supply from their business records. I expect the data
  produced in discovery by the Defendants to be accurate. As with the Retail
  Drug Summary Reports, I have been able to identify and correct relatively
  minor discrepancies between the ARCOS Data produced by the DEA for
  transactions in Cuyahoga County and Summit Counties in Ohio from January
  2006 through December 2014 and the Defendants’ transaction data.

        16.      The data on opioid shipments from January 2006 through
  December 2014 produced in discovery by AmerisourceBergen does differ
  from what AmerisourceBergen reported to the DEA as reflected in the
  ARCOS Data.

        17.      I conclude from my review of the ARCOS Data, the Retail Drug
  Summary Reports, and transaction data produced in discovery by the
  Defendants that the ARCOS Data is reliable. Based on this analysis, I further
  conclude that the transaction records produced in discovery by the Defendants
  other than AmerisourceBergen are a reliable source of transactions data before
  2006 and after 2014 for the varied time periods covered by the Defendants’
  productions.

        18.      In the next section, I describe the ARCOS Data produced by the
  DEA and report national summary statistics for the ARCOS Data, after
  correcting minimal errors explained fully in Appendix 2. In Section VI, I
                                          -5-
Case: 1:17-md-02804-DAP Doc #: 1894-11 Filed: 07/19/19 6 of 14. PageID #: 70647
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           B. ARCOS Data Fields Produced by DEA
        27.    The ARCOS Data produced by the DEA has the 34 fields
  illustrated in Figure 1 for each transaction record. Twelve of the 34 fields are
  submitted with each transaction record by the Reporting Registrant, the DEA
  registered entity reporting the opioid shipment through ARCOS. These twelve
  fields are defined in the ARCOS Handbook.3 The remaining 22 fields were
  appended by the DEA to the transaction records submitted by the Reporting


  3
   “ARCOS Registrant Handbook,” Drug Enforcement Administration, August 1997
  (“ARCOS Handbook”). Current version available at
  www.deadiversion.usdoj.gov/arcos/handbook/full.pdf.



                                           -9-
Case: 1:17-md-02804-DAP Doc #: 1894-11 Filed: 07/19/19 7 of 14. PageID #: 70648
                                                                                                                                                                                                                                                                                Confidential - Subject to Protective Order




  Registrant.4 Eighteen of the 22 fields are information about the Reporting
  Registrant and the Associate Registrant, keyed off their DEA numbers.5 Three
  of the remaining four fields are either taken from the NDC (for National Drug
  Code) Dictionary or are calculated using variables therein and appear to have
  been imported by the DEA into the data it produced by matching each
  transaction’s NDC number with the NDC number in the NDC Dictionary.6

  Figure 1 ARCOS Data Fields Produced by DEA
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                                      28.                                  The first 10 fields provide information on the Reporting
  Registrant. The DEA identified these Reporter DEA numbers and associated
  fields as “Seller” fields and so, unless the context requires otherwise, I refer
  to the Reporting Registrant as the “Seller” and the associated fields as “Seller”
  fields. This information includes a Seller’s DEA Number, a description of the




  4
   The 22 fields are Reporter Business Activity, Reporter Name (2 fields), Reporter
  Address (6 fields), Buyer Business Activity, Buyer Name (2 fields), and Buyer Address
  (6 fields), Drug Code, Drug Name, Calculated Base Weight in Grams, and Dosage Unit.
  5
   The 18 fields are Reporter Business Activity, Reporter Name (2 fields), Reporter
  Address (6 fields), Buyer Business Activity, Buyer Name (2 fields), and Buyer Address
  (6 fields).
  6
   Drug Code and Drug Name are both in the NDC Dictionary. Calculated Base Weight in
  Grams is calculated using Ingredient Base Weight in the NDC Dictionary and Quantity,
  Unit, and Strength in the ARCOS Data.



                                                                                                                                                                                                      - 10 -
Case: 1:17-md-02804-DAP Doc #: 1894-11 Filed: 07/19/19 8 of 14. PageID #: 70649
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  Seller’s Business Activity (primarily Manufacturer, Distributor or Reverse
  Distributor), Name and Address (6 fields).

           29.    The next 10 fields provide information on the Associate
  Registrant, typically a receiver of the opioid shipment.7 The DEA identified
  the Associate Registrant DEA numbers and associated fields as “Buyer” fields
  and so, unless the context requires otherwise, I refer to the Associate
  Registrant as the “Buyer” and the associated fields as “Buyer” fields. This
  information includes the Buyer’s DEA Number, a description of the Buyer’s
  Business Activity (primarily Distributor or Retail or Chain Pharmacy), Name
  and Address (6 fields).

           30.    The final 14 fields provide information about the transaction.
  This information includes Drug Name and Drug Code (e.g. 9143 for
  oxycodone products), NDC Number, Quantity, Unit, Strength, Dosage Unit,
  Calculated Base Weight in Grams, Transaction Code (e.g., whether the
  transaction was a Purchase or a Sale), Transaction Date, Transaction
  Identifier, Correction Number, Action Indicator, and Order Form Number.



                                                                        -
                  1.   Seller DEA Number
           31.    The ARCOS Data produced by the DEA includes                     distinct
  Seller DEA Numbers. Manufacturers and distributors typically have more
  than one DEA number as each facility manufacturing or distributing
  controlled substances must have its own DEA number.8




  7
      See, ARCOS Handbook at pp. 5-36 – 5-37.
  8
      See, ARCOS Handbook at 1-5.
                                                - 11 -
Case: 1:17-md-02804-DAP Doc #: 1894-11 Filed: 07/19/19 9 of 14. PageID #: 70650
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                2.   Seller Business Activity
          32.   The ARCOS Data lists one “Business Activity” for each Seller
  DEA Number. There are six distinct Seller Business Activities in the ARCOS
  Data:    Manufacturer,    Manufacturer     (Bulk),    Chemical        Manufacturer,
  Distributor, Chempack/SNS Distributor, and Reverse Distributor.

                3.   Seller Name and Address
          33.   The ARCOS Data provides a business address for each Seller
  DEA Number, but there is not a one-to-one mapping between the addresses
  and the Seller DEA Numbers. Some Seller DEA Numbers are associated with
  multiple addresses, and some addresses are associated with more than one
  contemporaneous Seller DEA Number. Multiple Seller DEA Numbers can
  also be associated with the same address over time as locations are occupied
  by businesses newly registered with the DEA.



                                                    -
                4.  Buyer DEA Number
          34.   The ARCOS Data includes                     distinct Buyer DEA
  Numbers.
                -   DEA numbers are listed as both Sellers and Buyers, although
  not in the same transaction.

                5.   Buyer Business Activity
          35.   The ARCOS Data includes 54 distinct Buyer Business Activities
  including Manufacturer, Distributor, Reverse Distributor, Analytical Lab,
  Retail Pharmacy, Chain Pharmacy, Mail Order Pharmacy and Hospital/Clinic.
  Some Buyer DEA Numbers have more than one Buyer Business Activity.

                6.   Buyer Name and Address
          36.   The ARCOS Data provides a business address for each Buyer
  DEA Number, but there is not a one-to-one mapping between the addresses
  and the Buyer DEA Numbers. Some Buyer DEA Numbers are associated with
                                           - 12 -
Case: 1:17-md-02804-DAP Doc #: 1894-11 Filed: 07/19/19 10 of 14. PageID #: 70651
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               Appendix 6: List of Reporter Company Families

                                                                                Seller
Seller Family              Seller Name                                          DEA Number
AmerisourceBergen Drug     AMERISOURCEBERGEN DRUG                               RA0322824
AmerisourceBergen Drug     AMERISOURCEBERGEN DRUG                               RA0326276
AmerisourceBergen Drug     AMERISOURCEBERGEN DRUG CORP                          PL0032627
AmerisourceBergen Drug     AMERISOURCEBERGEN DRUG CORP                          RA0129937
AmerisourceBergen Drug     AMERISOURCEBERGEN DRUG CORP                          RA0210409
AmerisourceBergen Drug     AMERISOURCEBERGEN DRUG CORP                          RA0223432
AmerisourceBergen Drug     AMERISOURCEBERGEN DRUG CORP                          RA0289000
AmerisourceBergen Drug     AMERISOURCEBERGEN DRUG CORP                          RA0289036
AmerisourceBergen Drug     AMERISOURCEBERGEN DRUG CORP                          RA0289048
AmerisourceBergen Drug     AMERISOURCEBERGEN DRUG CORP                          RA0289050
AmerisourceBergen Drug     AMERISOURCEBERGEN DRUG CORP                          RA0289062
AmerisourceBergen Drug     AMERISOURCEBERGEN DRUG CORP                          RA0289074
AmerisourceBergen Drug     AMERISOURCEBERGEN DRUG CORP                          RA0289086
AmerisourceBergen Drug     AMERISOURCEBERGEN DRUG CORP                          RA0289098
AmerisourceBergen Drug     AMERISOURCEBERGEN DRUG CORP                          RA0289276
AmerisourceBergen Drug     AMERISOURCEBERGEN DRUG CORP                          RA0289288
AmerisourceBergen Drug     AMERISOURCEBERGEN DRUG CORP                          RA0289492
AmerisourceBergen Drug     AMERISOURCEBERGEN DRUG CORP                          RA0290522
AmerisourceBergen Drug     AMERISOURCEBERGEN DRUG CORP                          RA0290724
AmerisourceBergen Drug     AMERISOURCEBERGEN DRUG CORP                          RA0290736
AmerisourceBergen Drug     AMERISOURCEBERGEN DRUG CORP                          RA0290837
AmerisourceBergen Drug     AMERISOURCEBERGEN DRUG CORP                          RA0290938
AmerisourceBergen Drug     AMERISOURCEBERGEN DRUG CORP                          RA0290988
AmerisourceBergen Drug     AMERISOURCEBERGEN DRUG CORP                          RA0291168
AmerisourceBergen Drug     AMERISOURCEBERGEN DRUG CORP                          RA0291170
AmerisourceBergen Drug     AMERISOURCEBERGEN DRUG CORP                          RA0310603
AmerisourceBergen Drug     AMERISOURCEBERGEN DRUG CORP                          RA0314562
AmerisourceBergen Drug     AMERISOURCEBERGEN DRUG CORP                          RA0363301
AmerisourceBergen Drug     AMERISOURCEBERGEN DRUG CORP                          RB0363630
AmerisourceBergen Drug     AMERISOURCEBERGEN DRUG CORP                          RE0161733
AmerisourceBergen Drug     AMERISOURCEBERGEN DRUG CORP.                         RA0336924
AmerisourceBergen Drug     AMERISOURCEBERGEN DRUG                               RA0316958
                           CORPORATION
AmerisourceBergen Drug     AMERISOURCEBERGEN DRUG                               RA0464406
                           CORPORATION
Anda, Inc                  ANDA PHARMACEUTICALS INC                             RA0287020

                                       - 137 -
Case: 1:17-md-02804-DAP Doc #: 1894-11 Filed: 07/19/19 11 of 14. PageID #: 70652
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                                                                                Seller
Seller Family              Seller Name                                          DEA Number
Anda, Inc                  ANDA PUERTO RICO, INC.                               RA0394748
Anda, Inc                  ANDA, INC                                            RA0180733
Cardinal Health            CARDINAL HEALTH                                      RC0182080
Cardinal Health            CARDINAL HEALTH                                      RC0221236
Cardinal Health            CARDINAL HEALTH                                      RC0229965
Cardinal Health            CARDINAL HEALTH                                      RC0238104
Cardinal Health            CARDINAL HEALTH                                      RC0271267
Cardinal Health            CARDINAL HEALTH                                      RC0311693
Cardinal Health            CARDINAL HEALTH                                      RC0313940
Cardinal Health            CARDINAL HEALTH                                      RC0314891
Cardinal Health            CARDINAL HEALTH                                      RC0333524
Cardinal Health            CARDINAL HEALTH                                      RC0341153
Cardinal Health            CARDINAL HEALTH                                      RC0346658
Cardinal Health            CARDINAL HEALTH                                      RC0403802
Cardinal Health            CARDINAL HEALTH                                      RD0108200
Cardinal Health            CARDINAL HEALTH                                      RN0209583
Cardinal Health            CARDINAL HEALTH                                      RN0231427
Cardinal Health            CARDINAL HEALTH                                      RN0281054
Cardinal Health            CARDINAL HEALTH                                      RO0153609
Cardinal Health            CARDINAL HEALTH                                      RW0191407
Cardinal Health            CARDINAL HEALTH                                      RW0191419
Cardinal Health            CARDINAL HEALTH                                      RW0191813
Cardinal Health            CARDINAL HEALTH                                      RW0191926
Cardinal Health            CARDINAL HEALTH                                      RW0216449
Cardinal Health            CARDINAL HEALTH                                      RW0231908
Cardinal Health            CARDINAL HEALTH                                      RW0234928
Cardinal Health            CARDINAL HEALTH                                      RW0236009
Cardinal Health            CARDINAL HEALTH                                      RW0243725
Cardinal Health            CARDINAL HEALTH                                      RW0243903
Cardinal Health            CARDINAL HEALTH                                      RW0263056
Cardinal Health            CARDINAL HEALTH                                      RW0263549
Cardinal Health            CARDINAL HEALTH                                      RW0269654
Cardinal Health            CARDINAL HEALTH                                      RW0279996
Cardinal Health            CARDINAL HEALTH                                      RW0283452
Cardinal Health            CARDINAL HEALTH 110                                  PT0186038
Cardinal Health            CARDINAL HEALTH 110, LLC                             PC0003044
Cardinal Health            CARDINAL HEALTH 110, LLC                             RK0416900

                                       - 138 -
Case: 1:17-md-02804-DAP Doc #: 1894-11 Filed: 07/19/19 12 of 14. PageID #: 70653
                                                      Confidential - Subject to Protective Order




                                                                                Seller
Seller Family              Seller Name                                          DEA Number
Cardinal Health            CARDINAL HEALTH 110, LLC                             RP0337370
Cardinal Health            CARDINAL HEALTH P.R. 120, INC.                       RB0374683
Cardinal Health            CARDINAL HEALTH, INC.                                RW0286333
CVS                        CVS INDIANA                                          RH0197170
CVS                        CVS ORLANDO FL DISTRIBUTION                          RC0318128
CVS                        CVS PHARMACY INC                                     PM0124723
CVS                        CVS PHARMACY INC                                     RC0347725
CVS                        CVS PHARMACY, INC                                    RC0275467
CVS                        CVS PHARMACY, INC.                                   RC0315108
CVS                        CVS PHARMACY, INC.                                   RM0145347
CVS                        CVS RX SERVICES, INC                                 RC0415871
CVS                        CVS TN DISTRIBUTION, LLC                             PR0205559
CVS                        CVS VERO FL DISTRIBUTION, L.L.C                      RC0338031
CVS                        CVS VERO FL DISTRIBUTION, L.L.C.                     RC0469292
Discount Drug Mart         DISCOUNT DRUG MART                                   PD0203377
H. D. Smith                H D SMITH WHOLESALE DRUG CO                          PH0035964
H. D. Smith                H D SMITH WHOLESALE DRUG CO                          RB0268486
H. D. Smith                H D SMITH WHOLESALE DRUG CO                          RH0225056
H. D. Smith                H D SMITH WHOLESALE DRUG CO                          RS0269236
H. D. Smith                H D SMITH WHOLESALE DRUG CO.                         RH0323775
H. D. Smith                H D SMITH WHOLESALE DRUG COMPANY                     RH0366460
H. D. Smith                H. D. SMITH                                          RH0340896
H. D. Smith                H. D. SMITH                                          RH0344781
H. D. Smith                H. D. SMITH WHOLESALE DRUG                           RH0347282
H. D. Smith                HD SMITH TEXAS DIVISION                              PT0027296
H. D. Smith                SMITH MEDICAL PARTNERS LLC                           RS0375344
HBC Service Company        HBC SERVICE COMPANY                                  RH0389773
Henry Schein Inc           HENRY SCHEIN ANIMAL HEALTH                           RB0393912
Henry Schein Inc           HENRY SCHEIN ANIMAL HEALTH                           RB0394938
Henry Schein Inc           HENRY SCHEIN ANIMAL HEALTH                           RB0394940
Henry Schein Inc           HENRY SCHEIN ANIMAL HEALTH                           RB0395219
Henry Schein Inc           HENRY SCHEIN INC                                     RH0162494
Henry Schein Inc           HENRY SCHEIN INC                                     RH0181709
Henry Schein Inc           HENRY SCHEIN INC                                     RH0284199
Henry Schein Inc           HENRY SCHEIN, INC                                    RH0236667
Henry Schein Inc           HENRY SCHEIN, INC                                    RH0238192
McKesson Corporation       MCKESSON BIO SERVICES

                                       - 139 -
Case: 1:17-md-02804-DAP Doc #: 1894-11 Filed: 07/19/19 13 of 14. PageID #: 70654
                                                      Confidential - Subject to Protective Order




                                                                                Seller
Seller Family              Seller Name                                          DEA Number
McKesson Corporation       MCKESSON CORPORATION
McKesson Corporation       MCKESSON CORPORATION
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McKesson Corporation       MCKESSON CORPORATION
McKesson Corporation       MCKESSON CORPORATION
McKesson Corporation       MCKESSON DRUG COMPANY
McKesson Corporation       MCKESSON MEDICAL SURGICAL INC

                                       - 140 -
Case: 1:17-md-02804-DAP Doc #: 1894-11 Filed: 07/19/19 14 of 14. PageID #: 70655
                                                      Confidential - Subject to Protective Order




                                                                                Seller
Seller Family              Seller Name                                          DEA Number
McKesson Corporation       MCKESSON MEDICAL-SURGICAL INC                        RG0223937
McKesson Corporation       MCKESSON PACKAGING SERVICES                          RM0306541
McKesson Corporation       MCKESSON SPECIALTY CARE                              RO0338889
                           DISTRIBUTION CORPORATION
McKesson Corporation       MCKESSON SPECIALTY DIST LLC                          RM0339831
McKesson Corporation       MCKESSON SPECIALTY DISTRIBUTION,                     RM0291207
                           LLC
McKesson Corporation       MCKESSON SPECIALTY LOGISTICS                         RM0301515
McKesson Corporation       MCKESSON TRADING COMPANY                             RM0212857
McKesson Corporation       RX PAK DIV OF MCKESSON CORP                          RR0276837
McKesson Corporation       WATSON PHARMA INC                                    RS0104517
Prescription Supply Inc    PRESCRIPTION SUPPLY INC                              PP0031904
Rite Aid                   RITE AID DAYVILLE DISTRIBUTION                       RR0355277
                           CENTER
Rite Aid                   RITE AID MID-ATLANTIC                                RR0236073
Walgreen Co                WALGREEN ARIZONA DRUG CO                             PW0221084
Walgreen Co                WALGREEN CO                                          PW0122262
Walgreen Co                WALGREEN CO                                          PW0211158
Walgreen Co                WALGREEN CO                                          RW0152467
Walgreen Co                WALGREEN CO                                          RW0204026
Walgreen Co                WALGREEN CO                                          RW0277752
Walgreen Co                WALGREEN CO                                          RW0281953
Walgreen Co                WALGREEN CO                                          RW0294493
Walgreen Co                WALGREEN CO                                          RW0308216
Walgreen Co                WALGREEN CO.                                         RW0340757
Walgreen Co                WALGREEN CO.                                         RW0347496
Walgreen Co                WALGREEN EASTERN CO INC                              RW0161872
Walgreen Co                WALGREEN EASTERN CO., INC.                           RW0376170
Wal-Mart                   WAL-MART PHARM WAREHOUSE #1                          PW0186785
Wal-Mart                   WAL-MART PHARMACY WAREHOUSE                          RW0133479
Wal-Mart                   WAL-MART PHARMACY WAREHOUSE                          RW0165731
Wal-Mart                   WAL-MART PHARMACY WHSE #45                           RW0282145
Wal-Mart                   WAL-MART PHCY WAREHOUSE #46                          RW0199908
Wal-Mart                   WAL-MART WAREHOUSE #32                               RW0186278




                                       - 141 -
